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UNITED STATES DISTRICT C()URT
NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISION §§ §§§ 29 §§ f 35
GERARD N. MATZEN, ~ away uaw M______
TEXAS CIVIL CoMMITMENT CENTER
2600 s. suNsET DRIVE
LITTLEFIELD, TEXAS 79339 ' , - ~
PLAINTIFF, 5` 16CV'~ 043-f
v cleL ACTION NO.

MARSHA MCLANE IN HER OFFICIAL

AND INDIVIDUAL CAPACITY AS EXECUTIVE

DIRECTOR, TEXAS CIVIL COMMITMENT OFFIC`E`l
DEFENDANT,

ERIC TURPIN, MAYOR, CITY OF LITTLEFIELD
IS BEING SUED IN THEIR INDIVIDUAL CAPACITY
2181 STATE HIGHWAY 2197
LITTLEFIELD, TEXAS 79339
DEFENDANT,

TEXAS CIVIL COMMITMENT CENTER
"TCCC"; CORRECT CARE RECOVERY SOLUTIONS
AND

TINA KOVAR, FACILITY DIRECTOR
IN HER ()FFICIAL AND INDIVIDUAL CAPACITY
TEXAS CIVIL COMMITMENT CENTER
2600 S. SUNSET DRIVE
LITTLEFIELD, TEXAS 79339
DEFENDANTS,

ORIGINAL COMPLAINT

JURY TRIAL DEMANDED

PLAINTIFF'S ORIGINAL COMPLAINT

Comes Now Plaintiff pro se, and brings this civil rights complaint pursuant to 42 U.S.C. Section

1983 against Defendants in either their Offieial and or Individual Capacities. Plaintiff respectfully

 

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seeks Monetary, Prospective, Injunctive and Declaratory Judgment .

EXHAUSTION STATEMENT
1. Plaintiff has discharged his sentences and therefore is not on parole. Because Plaintiff is not a
prisoner, he does not fall under the Prison Litigation Reform Act (PLRA) concerning exhausting
requirements

JURISDICTION AND VENUE
2. This is a civil action authorized by 42 U.S.C. § 1983 to redress the deprivation, under color of
state law, of rights secured by the Constitution of the United States. This Court has jurisdiction
under 28 U.S.C. §§ 1331; 1343(a)(1)-(a)(4). This Court has supplemental jurisdiction over
Plaintiff's Texas state law claims under 28 U.S.C. § 1367 , as the state law claims are so related to
the federal claims that they form part of the same case and controversy under Article III of the
United States Constitution. Plaintiff seeks declaratory relief pursuant to 28 U.S.C. § 2201 and
2202, and injunctive relief pursuant to 28 U.S.C. §§ 2283; 2284; and Rule 65 of the Federal Rules
of Civil Procedure.
3. This Court has jurisdiction over each Defendant, in that the Defendants are either employees or
agents of the State of Texas or one its agencies; Texas residents and citizens; or corporations that
conduct business in the State of Texas.
4. Venue is proper in this Court under 28 U.S.C. § 1391(b)(1)(2) because at least one Defendant is
a Texas resident residing in the Northern District.
5. At all times relevant to this complaint, the Defendants were or are officers, employees,
contractors, or otherwise agents of the State of Texas, acting in their official capacities under color
of state law. The business of these Defendants are conducted in the State of Texas, including the
Northern District.

PARTIES

PLAINTIFF

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6. As an Outpatient Plaintiff Gerard N. Matzen (hereafter "Plaintiff") is involuntarily civilly
committed as a Sexually Vz`olent Predator ("SVP”) and was ordered by a Court with competent
jurisdiction, after being decided by a jury to submit to mandatory Outpatient Treatment and
Supervision pursuant to Texas' Outpatient Sexually Violent Predator Trealment Program
("OSVPTP") as administered by the Office of Violent Sex Offender Management ("OVSOM").
See Texas Health and Safety Code § 841.081 (West 2011).
7. Upon release from the Texas Department of Criminal Justice-Institutional Division
("TDCJ-ID"), Plaintiff was transported to the Southeast Texas Transitional Center ("STTC"),
where he remained confined anywhere from 16 - 24 hours a day, 7 days a week. Although not
totally free , Plaintiff did not experience total confinement while confined at the STTC.
8. On September 10, 2015, Plaintiff was escorted by the State Police and transported by bus, to the
Texas Civil Commitment Center, located in Littlefield, Texas and thereafter unlawfully placed in
total confinement
9. Plaintiff has been legislatively and judicially declared as an Outpatient , but remains confined at
the "TCCC" operated by Correct Care Recovery Solution. The facility is a high security prison,
behind double razor topped wired fencing, including fenced in walkways, equipped with security
cameras and motion detectors. Although Plaintiff has a Global Positioning Satellite tethered to his
ankle, Plaintiff is escorted everywhere by a security monitor and is under constant surveillance of
security cameras.
10. Plaintiff is being forced by Defendant McLane to reside at the current address; Texas Civil
Commitment Center, 2600 S. Sunset Dr., Littlefield, Texas 79339.

DEFENDANTS
11. Defendant Marsha McLane is the Executive Director for the Texas Civil Commitment Office
("TCCO") and is responsible for the overall daily administration and operation of the Texas Civil

Commitment Office. Defendant McLane is being sued in her Official and Individual Capacity.

 

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Defendant McLane is an employee and agent to the State of Texas, she may be served with legal
notice of this suit by service of Complaint and Summons on the Secretary of State pursuant to Rule
4(e)(1) of the Federal Rules of Civil Procedure, and in accordance With §§ l7.026(a); 101.102 of
the Texas Civil Practice and Remedies Code.

12. Tina Kovar is the Facility Director of the TCCC. Defendant Kovar is responsible for the day
to day operations of the Facility and is being sued in her official and individual capacity involving
Plaintiff's unlawful confinement and unconstitutional living conditions. Defendant Kovar can be
served at Texas Civil Commitment Center, 2600 S. Sunset Dr., Littlefield, Texas 79339 or through
Correct Care Recovery Solutions 1283 Murfeeboro Pike, Suite 500 Nashville, Tennessee 37217
(Home Office).

13. Eric Turpin is the Mayor for the City of Littlefield, as Mayor, Defendant Turpin is responsible
for all lawful and unlawful conduct that occurs in and throughout the City of Littlefield involving
all of it's citizens. The City of Littlefield are the proud owners of the Texas Civil Commitment
Center, that currently has Plaintiff and other civilly committed outpatients in captivity. Defendant
Turpin was fully aware that SVPs were challenging their unlawful confinement via litigation in
federal courts, but chose to unlawfully confine Plaintiff and other SVPS. The City of Littlefield is
being sued in its Individual Capacity. The City of Littlefield can be served at 2181 State Highway
2197, Littlefield, Texas 79339.

14. The Texas Civil Commitment Office (Defendant Mclane) and the Texas Civil Commitment
Center (Defendant Kovar) imposes and enforces rules and living conditions that substantially restrict
all of Plaintiff's liberty interests and subject him and other SVP to punishment under the auspices of
the civil commitment statutes. TCCO and TCCC deprives Plaintiff of his civil rights without due
process of law, violate equal protection, privacy, speech and unlawfully confines. The above
actions do not comport with the Fourteenth Amendment of the United States Constitution where

those involuntarily civilly committed are concerned.

 

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15. At all times relevant herein, the Defendants, and all of them, acted under color of state law and
their conduct as described herein was within their official capacities with the requisite state action.
In depriving Plaintiff of his rights, and privileges secured under both Federal and State
Constitutions, the Defendants, and all of them, acted willfully and maliciously, with reckless and
callous indifference to Plaintiff's state and federally protected rights.
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16. Plaintiff is a Tean resident and is one of more than 350 men that have been civilly committed
as an SVP under Texas Health & Safety Code Chapter 841.
17 . The Defendants are responsible for the selection, housing, supervision, care treatment, and
nearly every aspect of the Plaintiff's life while he is civilly committed.
18. Plaintiff request this Honorable Court to appoint an attorney to assist him with this complaint
because he is unable to (1) hire an attorney; (2) has no access to an adequate law library that will
allow him to conduct further research, and thereafter file the necessary pleadings to support this
complaint; (3) Plaintiff has no ability to independently appear in court for proceedings as he is in
the physical custody of Correct Care Recovery Solutions at the insistence of Defendant McLane;
(4) Plaintiff has no way of conducting investigations and contacting witnesses; and (5) he has no
ability to serve papers.

CIVIL COMMITMENT BACKGR()UND FACTS
19. The Legislature first enacted Chapter 841 of the Texas Health & Safety Code in 1999, finding
that there was a " small but extremely dangerous group of sexually violent predators" who suffered
from a "behavioral abnormality" that made them "likely to engage in repeated predatory acts of
sexual violence." Tex. Health & Safety Code Ann. § 841.001 (West 2010). The Legislature
determined that it was in the interest of the state to establish a "civil commitment procedure for the
long-term supervision and treatment" of those deemed to be sexually violent predators. Id. At the

time of its enactment, individuals committed into the civil commitment program were placed in an

 

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outpatient treatment and supervision program, and their commitment was to continue until the v
person's behavioral abnormality has changed to the extent that the person is no longer likely to
engage in a predatory act of sexual violence. Act of May 30, 1999, 76th Leg., R.S., ch. 1188, §
4.01, 1999 Tex. Gen. Laws 4122, 4147 (amended 2003, 2015) current version at Tex. Health &
Safety Code Ann. § 841.081) (West, Westlaw through 2015 R.Sess.).
20. In order to identify those individuals who might be in need of such supervision and treatment,
the Code required a repeat sexually violent offender who was being released from prison to be
assessed to determine if he suffered from a "behavioral abnormality" that would make him "likely
to engage in a predatory act of sexual violence." Act of May 30, 1999, 76th Leg., R.S., ch. 1188,
§ 4.01, 1999 Tex. Gen. Laws 4122, 4146 (amended 2003, 2011, 2015) (current versions at Tex.
Health & Safety Code Ann. § 841.023 (West, Westlaw through 2015 R. Sess.). If so identified,
the State was given the authority to file a petition seeking to make the individual the subject of
"civil commitment, " and the individual was then entitled to a jury trial on the issue of whether he
was a sexually violent predator. Act of May 30, 1999, 76th Leg., R.S., ch. 1188, § 4.01, 1999
Tex. Gen. Laws 4122, 4146-47 (amended 2003, 2007, 2015) (current versions at Tex. Health &
Safety Code Ann. §§ 841.041, 841.061) (West, Westlaw through 2015 R. Sess.). See Mitchell v
State, No. 08-13-00241-CR.

FACTS SPECIFIC TO PLAINTIFF
21. Plaintiff was convicted of multiple offenses involving his sexual misconduct and was identified
as a candidates for the civil commitment program upon his release from prison. After a jury trial,
Plaintiff was determined as sexually violent predator in need of supervision and treatment, and
thereafter the trial court entered a Final Judgment and Order of Civil Commitment, (See Exhibit
"A") committing Plaintiff into outpatient treatment and supervision, as was required by § 841.081
of the Tex. Health & Safety Code at that time.

22. Plaintiff was released from prison on July 3, 2014 and placed into the physical custody of

 

 

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OVSOM/TCCO to start the Outpatient Sexually Violent Predator Treatment Program ("OSVPTP").
Plaintiff was transported to Harris County, Texas to be confined at the Southeast Texas Transitional
Center ("STTC"), a facility under contract with the Texas Department of Criminal Justice-TDCJ-ID.
23. Plaintiff's Final Judgment Ordered him into "Outpatient Treatment" which at the time was the
Texas Outpatient Sexually Violent Predator Treatment Program ("OSVPTP") prior to the June 17,
2015 enacted amendments to Texas Health & Safety Code Chapter 841.

24. Plaintiff's Orders of Civil Commitment specifically required him to comply with all civil
commitment requirements delineated in Tex. Health & Safety Code § 841.082(a). The
requirements pursuant to § 841.082(a) at that time consist of: (1) requiring the SVP to live in a
particular location; (2) prohibiting contact between the SVP and victims or potential victims; (3)
prohibiting the SVP's use of alcohol, inhalants, or controlled substances; (4) requiring participation
in and compliance with a particular course of treatment; (5) requiring the SVP to submit to tracking
and refrain from tampering with tracking equipment; (6) prohibiting the SVP from changing
residence without prior authorization; and (7) any requirements determined necessary by the judge.
See In Re Commitment of Fisher, 164 S.W.3d 637, 641 (Tex. 2005).

25. The newly enacted amendment S.B. 746 to Tex. Health and Safety Code Section 16, 40(b)
specifically required a Court with competent jurisdiction to modify Plaintiff's former ()rder of
Commitment to comply with the amended version of § 841 .082. See Exhibit "B" (Senate Analysis
to S.B. 746).

26. Defendant McLane's post-enactment implementation of placing Plaintiff in total confinement
has expanded the disabilities and restrictions of the Plaintiff's Final Judgment and Order of
Commitment.

27. As an Outpatient Plaintiff is currently being unlawfully confined in the Texas Civil
Commitment Center "TCCC".

28. The facility is a high security prison, behind double razor topped wired fencing, including

 

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fenced in walkways, equipped with security cameras and motion detectors. Although Plaintiff has
a Global Positioning Satellite tethered to his ankle, Plaintiff is escorted everywhere by a security
monitor and is under constant surveillance of security cameras.

29. Plaintiff is required to share a cell with another individual, that is just as small, if not smaller
than his cell while in prison. Plaintiff is being forced to sleep on steel bunks just like prisoners.
Plaintiff, like a prisoner is not afforded privacy while utilizing restroom. When the issue was
brought to the attention of the Administration, Plaintiff was told "You guys should already be use to
this after spending years in prison".

30. Plaintiff's living area is surrounded with surveillance cameras mounted on the Walls Within a
dayroom and a portion of the living area (dormitory 14 man area).

31. Plaintiff's access to daily outside recreational activities have diminished significantly more than
when he was in the "STTC" and prison. Plaintiff is not permitted night time recreational activities.
Plaintiff is not a prisoner and therefore is being denied the " civilized measures of life necessities ”
that are automatically guaranteed to a prisoner.

32. Plaintiff while in total confinement is being denied Outpatient Sex ()jj‘ender Treatment, which
is necessary for the purpose of changing his behavioral abnormality.

33. On information and belief the Texas Civil Commitment Center does not have qualified licensed
sex offender therapists available to provide Plaintiff with the appropriate “outpatient" sex offender
treatment mandated by the Texas Legislature and his Final Judgment. On information and belief,
not one therapist has displayed a license to practice as required by the Council On Sex Offender
Treatment.

34. Plaintiff while in total confinement is being denied access to courts. The law library that
currently exists does not have any law books, the software for Lexis Nexis is not updated, and
there is no one positioned in the Unit Law Library to provide assistance.

35 . Plaintiff is a veteran and receives military retirement pay. Plaintiff is being forced to pay 33

 

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and 1/3 % of his military retirement for housing, treatment, and GPS fees. Whereas, at the time of
his civil commitment, Texas Health & Safety Code § 841.146(c) required the State to pay all costs.
36. As an "outpatient, Plaintiff and other veterans due to their total confinement within the TCCC
are being refused medical assistance by the Veteran's Administration.
37 . Prior to being placed in total confinement Plaintiff while in Houston, Texas could schedule his
own visits with the V.A. as needed.
38. Plaintiff, while in total confinement is being required to pay the State for treatment and
housing. 39. On information and belief, if Plaintiff does not pay cost for treatment, housing, and
GPS fees, Plaintiff will remain at the Texas Civil Commitment Center until all bills are paid in full.
40. Plaintiff upon entering into Texas' Outpatient Sexually Violent Predator Treatment Program,
entered into a contractual agreement with the State of Texas for Outpatient Treatment.
CONDITIONS ()F CONFINEMENT
41. The facility is a high security prison, behind double razor topped wired fencing, including
fenced in walkways, equipped With security cameras and motion detectors. Although Plaintiff has
a Global Positioning Satellite tethered to his ankle, Plaintiff is escorted everywhere by a security
monitor and is under constant surveillance of security cameras.
42. ln comparison with the Texas Department of Criminal Justice-Institutional Division
("TDCJ-ID"), the Texas Civil Commitment Center has a ranking system as its hierarchy that
Plaintiff and other residents must recognize.
43. In a similar fashion to TDCJ-ID, the facility staff conducts secure ingress and egress; daily
random searches of all residents, as well as their property; and conducts several "counts“ (counts
consist of all residents returning to their cells and remain there until staff verifies facility count),
within a 24 hour period.
44. Plaintiff contend that the “restrictive and denigrating conditions" at the "TCCC" denies

Plaintiff of Substantive Due Process. Plaintiff offers that his Final Judgment and Order of

 

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Commitment does not permit Defendant McLane to place him in a facility that subjects him to
further "confinement" .

44. By being placed in the "TCCC", Plaintiff is being stripped of his liberty interest in his
movement and personal security.

45. Plaintiff offers that the conditions of confinement are unconstitutional and inadequate, to the
point where residents are forced to live in squalid conditions that are inhumane and pose a serious
health risk. Residents are exposed to a shower area that is constantly filled with large stagnant
water puddles due to improper drainage. The showers and shower area are not properly cleaned on
a daily basis. The Administration refuse to provide the appropriate chemicals and equipment
necessary to clean the showers. Residents are constantly exposed to others that suffer from
Staphylococcus and use the very same showers and tables within the general living area, without the
Defendants taking the appropriate measures in making sure that Plaintiff's and other residents’
health are not at risk.

46. Plaintiff is confined due to the Defendants' affirmative exercise of their power to restrain
Plaintiff's liberty, to the point that it renders him and other residents unable to care for themselves,
and at the same time fails to provide them with the basic human needs such as proper food, shelter,
medical and reasonable safety.

47 . Plaintiff, as well as other residents are denied medical and dental care by Defendants in their
custody and care, The Defendants have made it clear that Plaintiff, as well as other residents must
pay for their own specialty, major emergency care, and medications See Exhibit "C" (Civil
Commitment Center For Violent Sex Offenders Response to Vendors Questions 8, 20, 24, 37 , 38,
39, 48, and 60 ).

48. Prior to Plaintiff and other residents being placed in total confinement as Outpatients, they
scheduled their own medical appointments with the V.A. or various other medical institutions in

Harris County, Texas with little or no fee charged at all for services.

 

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49. Plaintiff, as well as other veterans are no longer provided services with the V.A. due to being
placed in total confinement

50. On information and belief, the Veteran's Administration is refusing to provide services for
those that are in total confinement

51 . On information and belief, civil commitment residents while out on medical appointments are
denied their physician-patient confidentiality Correct Care Recovery Solutions has a policy
practice and procedure that denies a resident this right. Prior to being placed in total confinement
Plaintiff's right to physician-client confidentiality was never violated.

52. Plaintiff is forced to eat the food served to him at the TCCC. He is not free to buy fresh
groceries from the store, or to cook food of his choosing. The food at the TCCC is served in
insufficient quantity, and the quality of the food is poor. Meat is highly processed, and meals are
primarily carbohydrates. Residents in civil commitment are so hungry that those who have money
are compelled to supplement their diets with high price foods from an outside commissary vendor
chosen by TCCC; while men in civil commitment without money go hungry. The food is not of a
sufficient quantity to meet the daily nutrition scale established by Dietary Guidelines For
Americans, United States Department of Agriculture, and United States Health Department of
Health and Human Services. Residents at the TCCC vary in ages and size, at a bare minimum the
calories count should be 2,400-2,600. The TCCC boost the total calories of a meal served by
providing sugar packets or Margarine with the food.

53. The food is always at or below room temperature when served to the residents. There are
times when the food is so cold, it is not eatable. On information and belief, there is no remedy for
this situation.

54. Plaintiff, as well as other residents are being denied recreation. While in total confinement
recreation is basically offered when facility staff feels like calling it. Residents are forced to spend

a great deal of their time in the building. Within a 24 hour period, outside recreation may be called

 

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for a total of four hours. Residents are being denied outside recreation during night time hours, this
is worse than prison. Prisoners are granted night time recreation on a daily basis. The TCCC has
lights, surveillance cameras, and has double razor topped wired fencing to keep residents within the
facility. Plus, Plaintiff as well as other residents have GPS Monitors tethered to their ankles for
constant monitoring

55 . Plaintiff, as well as other residents are denied access to courts. The law library within the
facility is inadequate for an individual to conduct the appropriate research that is needed to
articulate claims and thereafter support their claims with relevant case law. Although Lexis Nexis
is provided, it is behind three months. Furthermore, the law library has no legal books at all in
which to introduce an individual to research. There is no law library clerk, or a person skilled in
law to assist a resident in filing a lawsuit or conducting research. Although, the computers within
the law library are equipped with Internet, Plaintiff is prohibited from using it.

56. Without adequate access to courts, Plaintiff and other residents will not be able to effectively
challenge the validity of their civil commitment, conditions of their 'unlawful" confinement, and
the manner in which their Biennial Review are conducted.

57 . On information and belief, residents while confined within the "STTC" were permitted to go to
the Harris County Law Library in Houston, and while there they had total access, including the
Internet.

58. As an "outpatient" unlawfully confined, Plaintiff's civil rights to free speech and free
association with any person in the "free world" is denied, unless first approved by a case manager.
Purportedly, the civil commitment law in Texas has changed in regards to an SVPs' contact

59. Plaintiff as an "outpatient" while in total confinement is being required by Defendants to pay
33 and 1/3 % of any money received, whether it be from Plaintiff's retirement, or his family and
friends. Defendants have. This payment is imposed upon Plaintiff and other civilly committed

clients even if they need the money to pay for medical bills, prescriptions, hygiene or food items.

 

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60. On January 12, 2016, TCCO representative Deputy Director Drake and Amy Goldstein,
Clinical Director for Correct Care Recovery Solutions, specifically stated "If residents do not pay
their assessment fees, they will not progress in treatment, nor will they go home.

61. Plaintiff, as noted through Exhibit "A", In Re Commitment of Fisher, 164 S.W.3d 637 (Tex.
2005) and former Texas Health and Safety Code § 841.081(a) has been judicially and legislatively
declared as an "outpatient" , and was excluded from paying for treatment and housing,

62. Plaintiff, as an outpatient while totally confined, is being required to wear a GPS monitor
tethered to his ankle. Plaintiff offers that this is an unlawful and unnecessary restraint while in total
confinement, and does not comport with the Due Process Clause of the Fourteenth Amendment
63. Plaintiff and other clients are being subjected to constant and continuous confinement upon
release from TDCJ-ID. For example, Plaintiff discharged his prison sentence on July 3, 2014.
However, Defendant McLane has specifically required further confinement,

64. On information and belief, the Defendants, including all of them, have policies, practices and
procedures of unlawfully confining an SVP that has been granted outpatient treatment and this
violates Article I, Section 16 of the Texas Constitution, and the Due Process Clause of the
Fourteenth Amendment to the United States Constitution, Due to Plaintiff and other residents being
held in captivity, they are being deprived of life and liberty.

65. The Defendants have conspired to place Plaintiff and other civilly committed SVPs in the
"TCCC", which represents an "atypical and significant hardship' on an SVP client that has been
Ordered into outpatient treatment The Defendants knew or should have known that the newly
enacted Amendment S.B. 746, Sec. 40(b) did not authorize for Defendants to place Plaintiff and
other civilly committed SVPs into captivity.

66. Plaintiff is not challenging the Court's Final Judgment nor is he seeking release from civil
commitment; Plaintiff, specifically challenges Defendant McLane's unconstitutional application of

the newly enacted Amendments to Tex. Health and Safety Code Chapter 841.

 

 

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67 . Plaintiff, in the alternative, challenge that the newly enacted amendments to Tex. Health and
Safety Code, Chapter 841 is unconstitutional as applied to an SVP that has been legislatively and
judicially deemed as an outpatient

CAUSATIOH
68. Defendant McLane is not a mental health professional or an attorney, and cannot ensure that
Plaintiff is afforded constitutionally adequate conditions of confinement and sex offender treatment
to change his behavioral abnormality. Prior to this complaint Defendant McLane had the authority
and duty to afford Plaintiff constitutionally adequate outpatient treatment
69. Defendant McLane has policies, practices, and procedures that allow the continuous
confinement of an SVP that has discharged his entire sentence.
70. Defendant McLane has a policy, practice and procedure that requires Plaintiff and other SVPs
to pay 33 1/3 % of their gross income, for housing, treatment, and Global Positioning Monitor fees
while in total confinement Plaintiff was committed prior to the change in law on June 17 , 2015 ,
and is therefore not required to pay such fees. See Exhibit See Exhibit "D" Monthly Income &
Expense Worksheet and Exhibit "E" Resident Bank Trust Fund Withdraw Forms (January &
February).
71. On information and belief, Defendant McLane and Texas Civil Commitment Center (Clinical
Director Amy Goldstein) have a policy, practice and procedure that denies Plaintiff's and other
SVPs the right to advance in treatment, or released from civil commitment if they do not pay.
72. Defendant Kovar, Facility Director of the Texas Civil Commitment Center is not a mental
health professional or an attorney, and cannot ensure that Plaintiff is afforded constitutionally
adequate sex offender treatment
73. Defendant Kovar does not provide constitutionally adequate conditions of confinement;
Plaintiff, as well as other residents are exposed to conditions that are detrimental to their health and

safety. Several residents have contracted Staphylococcus within the facility, and Director Kovar

 

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has not developed an appropriate regiment on how the facility will be maintained and the residents
properly protected from diseases

74. Defendant Kovar denies Plaintiff and other civilly committed SVPs medical and dental
services. Plaintiff as well as other SVPs are required to pay for all dental services except for the
pulling of teeth. SVPs are not provided routine teeth cleaning, fillings, or cosmetic surgeries,
without having to pay an exorbitant fee. Svps are required to pay for all medical emergencies,
specialty care and all medications Residents that cannot afford to pay for emergency medical care,
specialty care, or special medications will be forced to suffer and go without This clearly violates
the evolving standards of decency.

75. Defendant Kovar has a policy, practice and procedure that calls for the confiscation of
Plaintiff's property, such as Texas Identification Card; all credit cards, and checks. Prior to
Plaintiffs arrival to the TCCC, Plaintiff was able to pay for all expenses and including his bills.
Plaintiff owns property and is required to pay bills in a timely fashion. Plaintiff risks the possibility
of losing his property due to not being allowed access to his property.

76. Defendant Kovar has a policy, practice and procedure that violates Plaintiff's and other civilly
committed SVP's right to privacy and physician-patient confidentiality Plaintiff, and other SVPs
are denied the right to visit with outside medical doctors or medical care personnel, without
employees of the TCCC interfering Director Kovar's policy calls for TCCC employees to be
present in the doctor‘s office with the client while receiving treatment at all times.

77. Defendant Kovar has a policy, practice and procedure that requires the unlawful confinement
of an SVP that has been legislatively and judicially mandated as an outpatient

78. Defendant Eric Turpin, Mayor of the City of Littlefield, has a policy, practice, and procedure
that requires Plaintiff and other SVPs to remain unlawfully confined at the TCCC. While confined
in the City of Littlefield, Plaintiff and other civil commitments are forbidden to enter into the City

of Littlefield to register as sex offenders and to acquire Texas Identification Cards as requried by

 

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Chapter 62, Texas Code of Criminal Procedures, and are being denied the right to vote. See

Exhibit "F" The Texas Photo Identification Law.

80. The Defendants, and all of them, are requiring Plaintiff and other civil commitments to vote in

absentee under the status confinement in jail, when in fact it violates the Texas Election Code.

Plaintiff and other civil commitments do not possess the status to vote under the confinement in jail

criteria. See Exhibit "G" Application For Ballot By Mail & Texas Election Code § 82.004

Confinement in jaiI.

81. Defendant Turpin, and Correct Care Recovery Solutions (Tean Civil Commitment Center)

have conspired with Defendant McLane to unlawfully confine Plaintiff and other civil commitments

that have been deemed outpatients .

80. On information and belief, Defendant McLane has a policy, practice, and procedure that

subjects Plaintiff and other civil commitments to polygraph and plethysmograph testing, which

violates Plaintiff's First, Fourth, and Fourteenth Amendment to the United States Constitution.
LEGAL CLAIMS

Violation of Substantive Due Process:

(1) Defendant McLane, knowingly through policies, practice and procedures violated clearly
established law that was well settled at the time of this complaint, failed to provide Plaintiff and
other civil commitments constitutionally adequate conditions and outpatient sex offender
treatment

(1) Defendants McLane, Kovar ("TCCC"/Correct Care Recovery Sollutions) on a continuing basis
violates Plaintiff's substantive due process rights under the Fourteenth Amendment Defendant
McLane applies the newly enacted amendments to Tex. Health & Safety Code Chapter 841, in a
manner that results in Plaintiff and other civil commitments being unlawfully confined. The
Defendants knew or should have known that subjecting Plaintiff and other civil commitments to

unconstitutional punishment violates the substantive due process clause to the Fourteenth

 

 

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Amendment to the United States Constitution.

(2) Defendant McLane fails to provide outpatient treatment in violation of the Fourteenth
Amendment to the United States Constitution.

(2)(a) Defendant McLane fails to provide treatment in violation of the Texas Civil Commitment
"Act", Tex. Health & Safety Code Chapter 841.

(3) Defendants McLane, Kovar, and Turbin denies Plaintiff and other civil commitments the right
to be free from punishment in violation of the Fourteenth Amendment to the United States
Constitution and Texas Constitution.

(3)(a) Defendant McLane denies Plaintiff and other civil commitments the right to Less Restn'ctive
housing in violation of the Fourteenth Amendment to the United States Constitution and the Texas
Constitution.

(3)(b) Defendant McLane denies Plaintiff and other civil commitment the right to be free inhumane
treatment in violation of the Fourteenth Amendment to the United States Constitution.

(3)(c) Defendant McLane unreasonably restricts Plaintiff and other civil commitments free speech
and free association in violation of the First and Fourteenth Amendment to the United States
Constitution. Defendant McLane has a policy, practice and procedure that disallows Plaintiff and
other civil commitments their rights to make contact with persons in the free world, without first
obtaining approval. Defendant McLane's policy, practice and procedure also disallows Plaintiff
and other civil commitments to vote.

(4) Defendant Turbin, knowingly allowed Plaintiff and other civil commitments to be unlawfully
confined in the City of Littlefield. Defendant Turbin has a policy, practice and procedure for
Plaintiff and other civil commitments to remain confined in the TCCC, and not be allowed in the
City of Littlefield to register as sex offenders, to obtain Texas Identification or to vote in local,
state, and federal elections.

(4)(a) Defendant Turbin at the time of entering into an agreement with Defendants McLane and

 

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18

Correct Care Recovery Sollutions ("TCCC") to unconstitutionally confine Plaintiff, in the City off
Littlefield, knew or should have known that Plaintiff, by law had a constitutional right to genuine
outpatient treatment and conditions.

(4)(b) The Defendants knowingly house Plaintiff and other civil commitments in the "TCCC" which
is not an outpatient facility. This confinement is arbitrarily and materially alters the outpatient
nature of civil commitment under Texas House & Safety Code Chapter 841 without due processs
under the Fourteenth Amendment to the United States Constitution.

RELIEF REQUESTED

WHEREFORE PREMISED CONSIDERED, Plaintiff respectfully pray this this Honorable
Court grant the following relief that:

1. As applied, and used by Defendants, that Texas Health & Safety Code § 841.082(a) is
constitutionally invalid in that it is punitive and violates Plaintiff's and other civil commitments
Final Judgments.
2. The Defendants fail to provide Plaintiff and other civil commitments their substantive due
process rights to constitutionally adequate sex offender treatment as required, and therefore
declartory judgment is sought

THE AWARD OF COMPENSATORY DAMAGES IN THE FOLLOWING AMOUNTS

$500,000 against Defendant McLane for failing or refusing to provide Plaintiff constitutionally
adequate outpatient sex offender treatment as required by due process, and for failing to provide
Plaintiff with genuine outpatient conditions as required.

$500,000 against Defendant McLane for causing the constant and continuous unlawful confinement
of Plaintiff after July 3, 2014, where Plaintiff had discharged a sixteen year sentence prior to being
released from prison,

$500,000 against Defendant Turpin (City of Littlefield) for causing the unlawful confinement of

Plaintiff in the "TCCC" since September 10, 2015 , by conspiring with Defendants McLane, and

 

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"TCCC" (Correct Care Recovery Solutions) to unlawfully confine and restrict Plaintiff in his
movements
THE AWARD OF PUNITIVE DAMAGES IN THE FOLLOWING AMOUNTS

$500,000 each against Defendants McLane, Kovar ("TCCC"/Correct Care Recovery Solutions) and
Turpin (City of Littlefield) for subjecting Plaintiff to the "restrictive and denigrating" conditions of
confinement that are punitive in nature and violative of the Fourteenth Amendment to the United
States Constitution.

Plaintiff further pray that this Honorable Court grant any other releif that it deems appropriate.

. §
So prayed on this the021

 

, February, 2016..

R ectfully Submitte :
twa m

zant N. mm o
ean Civii Commitment Center

gate S. Snnm Dr.
Littlefield, Texas 79339

UNSWORN DECLARATION

I have read the foregoing complaint and hereby verify the matters alleged herein am m §
correct to the best of my knowledge and belief. As to matters alleged on information and belief, I
believe them to be true. l hereby declare under the penalty of perjury pursuant to 28 U.S.C. §
1746, that the foregoing is true and correct

E ecuted on this the 235 3`day of February, 2016.

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ééafd N. Matzen
Plaintiff

 

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February 21, 2016

Clerk of Court

U.S. District Court Northern District
Lubbock Division

1205 Texas Ave Room 209
Lubbock, Tx. 79401

Dear Clerk,
Please find enclosed an Original and one copy of Plaintiff's § 1983 Complaint and Motion to Order
Service on Defendants I would appreciate it very much if this matter was brought before the Court

at your earliest convenience.

If Plaintiff is required to pay for having the Defendants served, please advise as to the procedures
Thank you very much for your time and service.

Sincerely,

    

 

 

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Plaintiff

 

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§ MONTGCMERY COUNTY, TEXAS

§
GERARD NEIL MATZEN § 435m JUDIC\AL DlSTRiCT

FiNAL JUDGMENT

BE lT REMEMBERED that on January 13, 2014, this cause came to trial and the
parties announced “Readv’. After considering the evidence arguments and Court‘s
charge on January 15, 2014, the jury unanimously found beyond a reasonable doubt that
GERARD NElL MATZEN ls a sexually violent predath as dennecl in Texas Health &
Safety Code § 841.003. lt is therefore:

ORDERED, ADJUDGED and DECREED that GERARD NEll. MATZEN is a
sexually violent predath as defined in Texas Health & Safety Code § 841,003 and is
civilly committed as such ln accordance with Texas Health & Safety Code § 84t.081 for
outpatient treatment and supervision to be coordinated by a case manager whose
directives GERARD NE!L MATZEN shall follow Sucl'l outpatient treatment shall begin
upon the person’s release from a secure correctional facility and be conducted in
accordance with this Final Judgment and that Order of Commitment signed this date
GERARD NElL MATZEN shall continue in such commitment until the behavioral
abnormality of GERARD NEll_ MATZEN has changed to the extent that GERARD NE¥L
MATZEN is no longer likely to engage in a predatory act of sexual violence and is
released from commitment in accordance with Texas Health & Safety Code §§
341.103(0), 841.121, or 841.124.

All costs are charged to the State of Texas pursuant to Texas Health & Safety
Code § 841.'§46(¢). All relief not granted herein ls DENlED.

SIGNED on January 15, 2014.
dodge P.K. Reiter
Sltting as
435“‘ District Court
J DGE PRESlDlNG

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eeRARo Nell_ MATZEN Resp@@enr VW

Page ‘l cf 3 FJ AND OC FOR SVP GERARD NEli. MATZEN

 

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cAusE NUMBER 13-07-07696-cv ` BARBAR»;,§!Lr/¢grggmwmcx
m RE: THE coMMlTMENT oF § iN THE olsTF§YWMP%W&
§ MoNTGoMt-:Rv couNTY, TEXAS
eERARD NElL MATZEN § 435"* JuplciAL DlsTRlcT
oRDER oF coMMlTMENT

 

GERARD NElL MATZEN has this clay been adjudged a sexually violent predath
as defined in Texas Health & Safety Code § 841.003 and has been civilly committed as
such in accordance with Texas Health & Safety Code § 841.081. Therefore the following
commitment requirements in accordance with § 841.082 are necessary to ensure that
GERARD NElL MATZEN complies With treatment and supervision and to protect the
community lt is accordingly:

ORDERED that

l. Upon release from any TDCJ-ClD facility, GERARD NElL MATZEN shall
immediately be transported by an Office of Violent Sex Offender Management
("Office") representative or a TDCJ representative to the contracted Texas residential
facility

2. GERARD NElL MATZEN shall reside in supervised housing at a Texas residential
facility under contract with the “Office” or at another location or facility approved by
the Office;

3. GERARD NElL MATZEN shall not contact directly or indirectly, by any means, a
victim, potential victim or complaining Witness in cases in Which he has been
implicated or convicted;

4. GERARD NElL MATZEN shall not possess or use alcohol, inhalants, or controlled
substances not prescribed-by a medical doctor for a legitimate medical purpose;

5. GERARD NElL MATZEN shall exactingly participate in and comply with the specific
course of treatment provided by the Office and shall comply with all written
requirements of the Office and case manager;

6. GERARD NElL MATZEN is required to submit to tracking under a global positioning
satellite (GPS) monitor or other monitoring system provided; GERARD NElL
MATZEN shall not tamper with, alter, modify, obstruct or manipulate the GPS
monitor frequency, and shall comply with ali written monitor system requirements;

7. GERARD NElL l\/iATZEN is prohibited from a change of residence or from leaving
the State of Texas without prior written authorization from this Court;

8. The Court has determined that it is appropriate to establish a child safety zone such
that GERARD NElL MATZEN shall not:

a. participate in an activity that at any time provides athletic, civic or cultural affairs
to persons 17 years of age or younger; or

br be within 1,000 feet of a perimeter Where children galher, including a schoo|,
day-care facility, playground, youth center, swi:'nming pool, or video arcade; and

Page 2 Of 3 FJ AND OC FOR SVP GERARD NElL MATZEN

 

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9. GERARD NElL MATZEN shall provide appropriate blood and hair samples to allow
inclusion in the DNA Data Bank maintained by the State of Texas. lt is further:

ORDERED that a treatment plan for GERARD NElL MATZEN shall be developed
by the treatment provider With the approval of the Office. The case manager shall provide
treatment and supervision to GERARD NElL MATZEN and make timely report to this
Court regarding the status and the biennial examination of GERARD NElL MATZEN
required by Texas Health & Safety Code § 841.101. lt is iurther:

ORDERED that GERARD NElL MATZEN is hereby given notice that:

1. GERARD NElL MATZEN shall strictly comply with the commitment requirements
of Texas Health & Safety Code § 841.082, the Final Judgment and this Order of
Commitment, or will be charged with a felony of the third degree, which may be
enhanced to a more severe punishment

2. GERARD NElL MATZEN shall strictly comply with sexual offender registration
requirements Code of Criminal Procedure Chapter 62, or be charged with a
felony of the second degree, which may be enhanced to a more severe
punishment

3. GERARD NElL MATZEN has the right to rise an tiaauthorized petition for release
pursuant to Texas Health and Safety Code § 841.122. lt is further:

ORDERED that a biennial review shall be conducted, in accordance with Texas
Health and Safety Code § 841 `102, on or about January 15, 2016. if the Court determines
at the biennial review that a requirement imposed should be modified, or that there is
probable cause to believe that GERARD NElL immin l is ne longer likely to engage in a
predatory act of sexual violence, notice will given and a hearing set upon written motion.

SlGNED on January 15, 2014.

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dudj:rz P.K. Reiter
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435"‘ District Court
guides PResioiNG

   

Thumbprint of GERARD NElL MATZEN
taken by

 

  
  

 

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Page 3 of 3 FJ fa§~-ltl.i GC FOR SVP GEi`?./\RD NElL MATZEN

 

84(R) SB 746 - Committee Report (Unamended) version - Bill Analysis , Pag€ 1 0f5
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BILL ANALYSIS grave/ii
iii § f’

esa me

By: Whitmire

Criminal Jurisprudence
Committee Report (Unamended)

BACKGROUND AND PURPOSE

Interested parties claim that problems with the current process under which sexually violent
predators are civilly committed could result in a major threat to public safety in Texas. While the
civil commitment process is designed to provide a safety net for certain high-risk repeat sex
offenders, mismanagement of the Office of Violent Sex Offender Management has reportedly led
to the total replacement of that oftice's management and the restructure of its governing board.
Additionally, the parties contend that the court designated to conduct these civil commitment triais
is currently in complete disarray. Because of these management issues, the parties explain, all
major vendors who currently house these individuals have provided notice that they intend to cease
providing housing services in the near future %S.B. 746@ seeks to address these issues by revising
provisions relating to the civil commitment of sexually violent predators.

CRIMINAL JUSTICE IMPACT

lt is the committees opinion that this bill does not expressly create a criminal offense, increase the
punishment for an existing criminal offense or category of offenses, or change the eligibility of a
person for community supervision, parole, or mandatory supervision

kULEMAKING AUTHORITY

lt is the committees opinion that this bill does not expressly grant any additional rulemaking
authority to a state ot`iicer, deparnnent, agency, or institution

ANALYSIS

BS.B. 746§ amends the Government Code to rename the Office of Violent Sex Offender
Management as the Texas Civil Commitment Office. The bill increases from three to five the
number of members of the oflice's governing board and requires the governor, as soon as
practicable after the bill's effective date, to appoint the additional board members to terms specified
by the bill. The bill repeals Health and Safety Code provisions establishing that the civil division of
the special prosecution unit is responsible for initiating and pursuing a proceeding for the civil
commitment of a sexually violent predath and requiring the Office of State Counsel for Oiienders
to represent an indigent person subject to a civil commitment proceeding as a sexually violent
predator.

AS'.B. 746@ amends the Health and Safety Code, including provisions amended by S.B. 219, Acts
of the 84th Legislature, Regular Session, 2015, to remove being adjudged not guilty by reason of

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insanity of a sexually violent offense as a condition under which a person may be considered a
repeat sexually violent offender The bill includes among the responsibilities of the Texas Civil
Commitment Office developing and implementing a sex offender treatment program for persons
civilly committed as sexually violent predators and specifies that the appropriate and necessary
treatment and supervision that the office is responsible for providing through the case management
system is treatment and supervision for such committed persons

§§S.B. 746§ revises the composition of the multidisciplinary team established to review available
records of a person referred to the team and make certain assessments regarding whether the person
is likely to commit a future sexually violent offense and requires the Texas Department of Criminal
Justice (TDCJ), in consultation with the office, to provide training to the team members regarding
the civil commitment program. The bill repeals the requirement for the Department of State Health
Services (DSHS) to give to the multidisciplinary team written notice of the anticipated discharge of
a person who is committed to DSHS after having been adjudged not guilty by reason of insanity of
certain sexually violent offenses and who may be a repeat sexually violent offender. The bill
authorizes TDCJ, regardless of whether any exigent circumstances are present, to give written
notice to the multidisciplinary team of the anticipated release of a sexually violent offender Who is
scheduled to be released on parole or to mandatory supervision only if the person's anticipated
release date is not later than 24 months after the date on which the notice will be given. The bill
prohibits TDCJ from giving notice with respect to a person who is currently released on parole or
to mandatory supervision but authorizes the multidisciplinary team to perform its functions within
the required period if the written notice was received by the team before the date of the person's
release The bill changes the deadline by which TDCJ is required to give notice to the
multidisciplinary team from not later than the first day of the 16th month before the person's
anticipated release date to not later than the first day of the 24th month before such date. The bill
prohibits TDCJ from providing the notice of the anticipated release of a person for whom TDCJ
has previously provided notice and who has been previously recommended for an assessment
unless, alter the recommendation was made, the person is convicted of a new sexually violent
offense, or the person's parole or mandatory supervision is revoked based on the commission of a
new sexually violent offense, failure to adhere to the requirements of sex offender treatment and
supervision, or failure to register as a sex offender.

QS'.B. 746@ specifies that the attorney to which TDCJ is required to give notice of an assessment
that a person suffers nom a behavioral abnormality that makes the person likely to engage in a
predatory act of sexual violence and provide corresponding documentation is the attorney
representing the state for the county in which the person was most recently convicted of a sexually
violent offense The bill redefines "attomey representing the state," for purposes of the civil
commitment of sexually violent predators, as a district attorney, criminal district attorney, or
county attorney with felony criminal jurisdiction who represents the state in a civil commitment
proceeding The bill changes the court in which the attorney representing the state is authorized to
file a petition alleging that the person referred is a sexually violent predator and stating facts
sufficient to support the allegation nom a Montgomery County district court other than a family
district court to the court of conviction for the person's most recent sexually violent offense

BS'.B. 746& requires an agreed order of civil commitment to require the person to submit to the
treatment and supervision administered by the office. The bill removes the Specification that the
treatment provided to a person civilly committed as a sexually violent predator is outpatient
treatment and changes the entity responsible for coordinating the treatment and supervision of such
a person from a case manager to the office The bill transfers certain powers and duties relating to

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civilly committed persons from the case manager to the office The bill revises the requirements to
be imposed on a person Who is civilly committed as a sexually violent predator and_removes the
following requirements that must be imposed: a requirement prohibiting the person's contact With a
potential victim, a requirement prohibiting the person's possession or use of alcohol, inhalants, or a
controlled substance, a requirement relating to the establislnnent of a child safety zone, if
determined appropriate by the judge, and any other requirements determined necessary by the
judge.

QS.B. 746& requires TDCJ to prioritize enrolling in a sex oHender treatment program established
by TDCJ any committed person Who has not yet been released by TDCJ. 'l`he bill requires TDCJ
and the office to adopt a memorandum of understanding that establishes their respective
responsibilities to institute a continuity of care for committed persons enrolled in a sex offender
treatment program established by TDCJ.

QS'.B. 746§ removes the requirement of the office to approve and contract for the provision of a
treatment plan for the committed person to be developed by the treatment provider and instead
requires the office to determine the conditions of supervision and treatment of a committed person.
The bill removes an authorization for the treatment provider to receive annual compensation in an
amount not to exceed 310,000 for providing the required treatment, The bill changes the entity with
which the office is required to enter into appropriate memoranda of understanding for the provision
of a tracking service from the Department of l’ublic Safety to TDCJ. The bill removes the
requirement that the office enter into appropriate memoranda of understanding for any supervised
necessary housing and instead requires the office to enter into appropriate contracts for the
provision of any necessary supervised housing and other related services and authorizes the office
to enter into appropriate contracts for medical and mental health services and sex offender
treatment The bill removes the requirement that the office reimburse the applicable provider for
housing costs. The bill removes the requirement that the case manager make timely
recommendations to the judge on Whether to allow the committed person to change residence or to
leave the state and on any other appropriate matters and removes the requirement that a case
manager's report to the ofiice include any recommendations made to the judge.

BS.B. 746§ requires the office to develop a tiered program for the supervision and treatment of a
committed person that provides for the seamless transition of a committed person from a total
confinement facility to less restrictive housing and supervision and eventually to release from civil
commitment, based on the person's behavior and progress in treatment, The bill requires the office
to operate, or contract with a vendor to operate, one or more facilities provided for the purpose of
housing committed persons and to designate an intake and orientation facility for committed
persons on release from a secure educational facility. The bill requires the office _to develop
procedures for the security and monitoring of committed persons in each programming tier and to
transfer a committed person to less restrictive housing and supervision if the transfer is in the best
interests of the person and conditions can be imposed that adequately protect the community.

SS.B. 7460 authorizes a committed person, Without the office's approval, to tile a petition With the
court for transfer to less restrictive housing and supervision The bill requires the court to grant the
transfer if the court determines that the transfer is in the best interests of the person and conditions
can be imposed that adequately protect the community. The bill requires the office to return a
committed person who has been transferred to less restrictive housing and supervision to a more
restrictive setting if the office considers the transfer necessary to further treatment and to protect
the community and requires the transfer decision to be based on the person's behavior or progress

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in treatment The bill entitles a committed person returned to a more restrictive setting to file a
petition with the court seeking review of the office's determination and requires the court to order
the office to transfer the person to less restrictive housing and supervision only if the court
determines that the office’s determination was not based on the person's behavior or progress in
treatment

§S.B. 746€‘§ requires the Health and Human Services Commission (HHSC) to coordinate with the
office to provide psychiatric services, disability services, and housing for a committed person with
an intellectual or developmental disability, a mental illness, or a physical disability that prevents
the person from effectively participating in the sex offender treatment program administered by the
of`iice. The bill requires a committed person released from housing operated by or under contract
with the office to be released to the county in which the person was most recently convicted of a
sexually violent offense.

tdS.B. 74® includes the cost of housing and treatment among the costs for which a civilly
committed person who is not indigent is responsible and required to pay to the office on a monthly
basis. The bill removes the specification that the monthly payments are for service to be provided
during the subsequent month. The bill removes the requirement that the office immediately transfer
the money to the appropriate provider and instead requires money collected from the committed
person for payment of costs to be deposited to the credit of the account from which the costs were
originally paid. The bill excludes the civil commitment requirement requiring the person's
participation iii and compliance With the sex offender treatment program provided by the office and
compliance with all written requirements imposed by the office from the civil commitment
requirements the violation of which constitutes an offense

&S.B. 746§ changes from the case manager to the oHice the entity that is required to provide a
report of the biennial examination of a civilly committed sexually violent predator to the judge in
preparation for a biennial review of the committed person's status and also requires the office to
provide the report to the person who is the subject of the report The bill specifies that the judge is
required to conduct the biennial review not later than the 60th day after the date of receipt of the
report and requires the judge to issue an order concluding the review or setting a hearing by that
same deadline

BS.B. 746@ removes the requirement that a judge attempt to review a petition for release filed by a
committed person without the appropriate authorization as soon as practicable on receipt of the
petition and instead requires the judge to review and issue a ruling on such a petition not later than
the 60th day after the date of filing of the petition The bill changes the time by which the judge is
required to conduct a hearing on such a petition if the judge does not deny the petition from as soon
as practicable to not later than the 60th day after the date of filing of the petition

&S‘.B. 746@ expands the office’s rulemaking authority to include the requirement to adopt rules to
determine the conditions of supervision and treatment of a committed person and rules to develop
and implement the tiered program. The bill clarifies that a court is required to appoint counsel to
represent a person subject to a civil commitment proceeding if the person is indigent The bill
includes the applicable attorney representing the state and an employee of the attorney among the
individuals who are immune from liability for good faith conduct under statutory provisions
relating to civil commitment of sexually violent predators.

§S.B. 746§ clarifies that the duties imposed on the office and the judge by statutory provisions

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relating to civil commitment of sexually violent predators are suspended for the duration of a
detention or confinement of a committed person in a correctional facility, secure correctional
facility, or secure detention facility, or if applicable any other commitment of the person to a
community center, mental health facility, or state supported living center, by governmental action.
The bill requires a correctional facility, secure correctional facility, or secure detention facility to
notify the office in writing of the anticipated date and time of release of a person Who, at the time
of the person's detention or confinement, was civilly committed as a sexually violent predator.

BS.B. 746% amends the Code of Criminal Procedure to authorize an offense involving the violation
of a civil commitment requirement imposed on a sexually violent predator to be prosecuted in the
court that retains jurisdiction over the civil commitment proceeding, as an alternative to being
prosecuted in the county in Which any element of the offense occurs, and removes the specification
that the offense may be prosecuted in Montgomery County.

653..B 7463 repeals Government Code provisions requiring the 43 5th District Court to give
preference to proceedings regarding the civil commitment of sexually violent predators, criminal
cases involving certain offenses relating to civil commitment requirements and other matters that
may be assigned by the administrative judge The bill amends the Government Code to make the
requirement that the state pay salaries of and other expenses related to the court reporter and court
coordinator appointed for the 435th District Court applicable only to the extent that the duties of
those individuals relate to proceedings for the civil commitment of a sexually violent predator or to
criminal cases involving the violation of certain civil commitment requirements imposed on such a
person

rk$".B. 746& requires the applicable court with jurisdiction over a person civilly committed as a
sexually violent predator, if a civil commitment requirement imposed before the bill's effective date
differs from any of the civil commitment requirements amended by the bill, to modify the
requirement imposed as applicable to conform to that section after notice and hearing. The bill's
changes to the offense involving the violation of a civil commitment requirement apply to an
offense committed before, on, or after the bill's effective date, but the bill establishes that a final
conviction for such an offense that exists on the bill's effective date remains unaffected by the bill's
provisions

BS.B. 746@ repeals the following provisions:
¢ Section 24.579(b), Government Code
¢ Sections 841.004, 841.005, 841.021(b), and 841.085(c), Health and Safety Code

EFFECTIVE DATE

September l, 2015.

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Civil Commitment Center for Violent Sex Offenders l g £ v
Responses to Vendors' Questions

 

Vendor Question

Response

 

l. Please provide the time the proposal is due on
July l7, 2015. Page 50 - Section 3.13.2

. 2:00 PM (CT)

 

2. Section 2.4.16 Laundry Facilities, Letter D.
states that “Contractor shall provide OVSOM
with description of any additional food
services provided...” Please clarify this
requirement for Laundry Facilities. Page 27 -
Section 2.4.16(D)

. Item (D) in Section 2.4.16 has been removed

 

3. Section 2.4.19 Telecommunications, Letter B.
states that “Contractor shall provide OVSOM
with description of any additional food
services provided...” Please clarify this
requirement for Telecommunications. Page
28 - Section 2.4.19(B)

. Item (B) in Section 2.4.19 has been removed

 

4. Please confirm that Bidders proposing more
than one center/location need to only provide
a separate complete set of A. Section 6.3,
Pricing Schedule and B. Appendix F,
Program Budget and Staff Plan, Justitication
Forms for each proposed center/location with
our proposal response Page 57 - Part IH Cost
Proposal, Section l

. A Pricing Schedule and Appendix F shall be
. provided for each proposed site.

 

5. Please provide copies of all “applicable
OVSOM Policies.” Page 12 - Section 2.3

. As a result of SB 746, all current OVSOM

policies are under review.

 

6. Please confirm that SVP clients may
participate in therapeutic work program
assignments Page 14 - Section 2.4.2(8)

. Clients may participate in therapeutic work

program assignments With OVSOM management
prior approval

 

 

7. Please confirm that PDF format is allowed for
proposal requirements such as signature
pages, printouts for required forrns, graphics-
intensive documents such as technical
response, etc. `Page 50 '- Section 3.`l'3.l `

 

7. Coniirmed.

 

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors' Questions

 

8. Section 2.4.4.€ (pg.l7) states that the facility
will provide “tiered housing ranging from
total confinement to a less restrictive
environment.” Section 2.4.10.€ (pg. 23)
states, “SVP Clients shall have access to
health care in the community. OVSOM shall
not be responsible for health care costs.” Does
OVSOM envision that SVPs in the “tot'al
confmement” tier Will be leaving the facility
to receive healthcare? Page 17 - Section
2.4.4(C), Page 23 ~ Section 2.4.10(€)

8.

OVSOM envisions that the contractor shall
provide routine on-site primary care. Specialty,
major emergency care, and hospitalization shall
be provided in the community. OVSOM clients
are responsible for the cost of their health care
and medication costs.

 

 

 

 

 

 

200 Sexually Violent Predators including age
groups, gender, medical and psychiatric
diagnoses and number deemed indigent Page
7 - Section l.5.2

 

9. lt is our understanding that currently all SVP 9. Clients in all tiers are subject to GPS monitoring
residents have GPS monitoring Under the
envisioned tiered program, which tiers will be
subject to GPS monitoring? Page 17 -
Section 2.4.4(€)
lO. What is the anticipated census at any given 10. Currently, the OVSOM has 95 clients in level
time requiring the total Confin€m€nt OPtiOD? one, which would be considered total
General confinement
ll. What is the anticipated length of stay in the l_l. The program is client driven, thus the length of
total confinement option? General stay in any tier is based on the client’s overall
participation, progress, and compliance With
program requirements
12. Will the Contractor have input regarding 12. A treatment team, which includes one employee
decisions to transfer to a less restrictive from contractor staff, Will make a
alternative or authorization to petition for recommendation to OVSOM management
release? If so please describe the mechanism ~
’ . . . V OM ement will make the final
that OV_SOM envisions. Page 21 - Section gts . dmanag r_
2-4.8(D) e mna OII.
13. Please provide specific demographics of the 13. Average age of all SVPS: 52.52 Yeais

Average age of SVPs in Community: 53.32 Yems
Average age of SVPs in Prison: 51 .65 Years

Ethnicity of all SVPS: 24.93% Ah:ican American,
54.47% Caucasian, 20.33% Hispanic, 0.27%
Native American/Alaskan Native

Ethm`city of SVPs in the Community‘. 22.40%

 

 

 

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At`rican American, 53.13% Caucasian, 23,96%
Hispanic, 0.52% Native American/Alaskan
Native

Ethnicity of SVPs in Prison: 27.68% African
American, 55.93% Caucasia.n, 16.38% Hispanic

25% of the l93 clients currently living in the
community receive mental health services Note,
however, that SB 746 requires the Health and
Human Services Commission to coordinate with
OVSOM to provide psychiatric services,
disability services, and housing for a committed
person with an intellectual or developmental
disability, a mental illness, or a physical disability
that prevents the person from effectively
participating in the sex offender treatment
program administered by OVSOM.

Approximately 125 SVP clients in the community
are deemed indigent

 

 

 

 

l4. Por the upcoming biennial, what is the 14. Please refer to HB l
OVSOM budget currently allocated to
residential services? To treatment services?
To case management? To GPS and/or
electronic monitoring? To central oftice?
l"age 9 - Section l.7
15. Deiine serious and/or unusual incidents and 15. Incidents or issues requiring immediate
the specific time frame to comply with notification to the OVSOM include but are not
“immediate” reporting What is the current limited to: serious injury/illness, death,
rate of occurrence of these types of events? absconders, threats made by an OVSOM client,
Page 17 - Section 2.4.3(G) the client is at risk of doing harm to himself or
others, inappropriate behaviors toward staff,. the
OVSOM client commits a violation that has
criminal intent, or natural disaster. lmmediate
notification is defined as reporting the incident to
the OVSOM immediately upon becoming aware
of the incident OVSOM does not currently have
the rate of occurrences
16. How many Clients are currently using GPS or 16. All OVSOM clients in the community are on a

other fonns of electronic monitoring? Who is
responsible for these costs and monitoring?
Page 18 - Section 2.4.4(])

 

GPS monitoring system as a requirement of their
Civil Commitment, The OVSOM is responsible
for the cost and monitoring of the GPS

 

 

 

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equipment ln some instances, the SVP client
pays for all or a percentage of the cost of his
equipment

 

 

 

 

 

 

17. ls it OVSOM’s intent to have one separately 17. Yes, it is the OVSOM intent to have separately
keyed and secure office for case managers? keyed oflices for the case managers
How many OVSOM case managers are
Cmendy empicyed and Where are they The number of case managers shall be based on
located? Please provide job description Page the total number °fbeds proposed
18 ` Secuon 2`4'4(N) The case manager job description is included
18. What is the number of clients cmrently 18. The listed programs are not currently provided
participating in each of the listed programs? ls , , _ _ ,
program participation a requirement? What is Yes’ Program participation 13 reqmred'
thing average I.mmber cf hours per Week that a OVSOM clients currently participate in 3 hours
client receives sex offender specific - -
. _ of group counseling per week and 2 individual
programming? ls sex offender specific -
. . sessions per month.
programming currently provided on or off-
Sit€? Page 20 ' Section 2-‘lL-S(A) Sex offender treatment is currently provided on-
and off-site, dependent upon the Licensed Sex
Offender Treatment Provider, the city of
operation and the facility where the client resides
19. How many Clients have been successfully 19. The court has not released any OVSOM clients
released from the program? What criteria are from the civil commitment program '
used and Who is the ultimate decision maker ‘ _ .
of release nom the facility? Page 21 - Section The C_mena ns§d for Suc°essful release requires
2_4_8 (D) the client to be m the altercare phase of treatment
and he must petition the court for release The
Judge/Court is the ultimate decision maker for
release from the order of civil commitment
20. SVP Clients shall have access to health care 20. OVS()M envisions that the contractor shall
in the community. Would routine on-site provide routine on-site primary care. Specialty,
primary care with referral to the community major emergency care, and hospitalization shall
for specialty care be considered compliant? be provided in the community. OVSOM clients
Who is responsible for health care costs of are responsible for the cost of their health care
clients? Page 23 - Section 2.4.10(€) and medication costs.
21. Provide the number of clients currently 21. Eight OVSOM clients are currently working, zero

working, going to school, receiving treatment
in the community or receive approved passes
Page 24 ~ Section 2.4.12(A)

 

are currently in school, zero have been approved
for overnight passes over the past 12 months.

Currently 25% of OVSOM clients in the
community receive mental health services Note,
however, that SB 746 requires the Health and

 

 

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors' Questions

 

Human Services Commission to coordinate With
OVSOM to provide psychiatric services,
disability services, and housing for a committed
person with an intellectual or developmental
disability, a mental illness, or a physical disability
that prevents the person from effectively
participating in the sex offender treatment
program administered by OVSOM.

 

22. Of the modes of transportation mentioned,
how does the case manager determine which
option to use? lf Contractor facility transport
is chosen, how will the Contractor be
reimbursed for trips within the county? When
using any transportation in the community are
any security devices used? Page 28 - Section
2.4.18(A)

22.

Various issues go into determining the mode of
transport The distance, the level of the client, the
location to which the client is traveling The
method of reimbursement to the Contractor is to
be proposed in the RFP.

No security devices are currently used when
transporting clients in the community. The
contractor shall propose what if any security
devices shall be used during transportation in the
community, keeping in mind that these clients are
not in custody or incarcerated Any security
devices proposed shall be in accordance with
transport guidelines or standards for mental
health populations

 

23. “No physical contact by staff shall be made
on a SVP Client” appears to conflict with
Page 32, 2.4.28 (C) Use of Force. Please
clarify. What speci§c restraining devices and
security equipment will be authorized in
emergency situations‘? Page 30 - Section

2.4.25(A)(i)

23.

No conflict exists between the sections
referenced; use of force in section 2.4.28(€) is an
exception Additionally, please note that the
contractor Shall propose what (if any) security
devices will be used during transportation in the
community, keeping in mind that these clients are
not in custody and are not incarcerated Any
security devices proposed shall be in accordance
with transport guidelines or standards for mental
health populations

 

 

 

24. lf the Contractor cannot bill for any day the
Client is in the hospital, does this mean that
the Contractor has no responsibility for
providing supervision while the Client is
hospitalized? lf so, who provides supervision?
Who is responsible for Client healthcare and
hospitalization costs? Page 38 - Section

2.13(E)

 

24. The contractor may bill for any day the client is

in the hospital Supervision by contractor during
client hospitalization shall be determined based
on the client’s level/tier.

ln instances where the contractor does not
provide supervision, OVSOM case managers may
conduct surveillance

OVSOM envisions that the contractor shall
provide routine on-site primary care, Specialty,

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors' Questions

 

major emergency care, and hospitalization shall
be provided in the community. OVSGM clients
are responsible for the cost of their health care
and medication costs.

 

25. Please provide a breakdown of the current
census by location General

25.

Austin 28, Dallas 20, Ft. Worth 31, Houston 76

 

26. Do the incumbent providers of these services
provide any sex offender specific
programming? lf so, how many hours per
week? Ii` not, Who provides sex offender
specific programming? Page 20 - Section
2.4.8(A)

26.

OVSOM clients currently participate in 3 hours
of group counseling per week and 2 individual
sessions per month provided by licensed sex
offender treatment providers under contract with
OVSOM.

 

. Please confirm that incumbent providers will
be required to submit community notification
forms Page 5l ~ Section 3.14.2

27.

lf the same contractor is currently in the facility
that Will be proposed under this RFP and has
previously provided community notification, then
the incumbent contractor is not required to
provide additional notification The contractor
should provide a summary advising of date of last
notification with a list of officials that were
notilied. »

 

28. How many residents Were approved to seek

employment in the past year? General

28.

The number of residents allowed to seek
employment varies at any given time as it is

based on their supervision level and approval of

the case management team.

 

29. How many staft`, if any, typically accompany
SVPs while outside the facility? Are these
OVSOM employees or contractors? If
contractors, what are the annual costs
associated with these contracts? Page 28 -

Section 2.4.18

29.

There is no specific number of staff required to
accompany an SVP client while in the
community. OVSOM staff does not routinely
accompany the SVP client, but will provide
surveillance when the SVP client is in the
community.

 

30. The RFP states that “state certification and
licensing requirements shall apply to all

health care personnel, employed by the

Contractor, responsible for dispensing
medical services . . ” Please define
“dispensing medical services.” Page 23 -
Section 2.4.10(D)

30.

Section 2.4.1 O(D) has been revised to read: “State
certification and licensing requirements shall
apply to all health care personnel employed by
the Contractor, responsible for providing medical
services to SVP Clients.”

 

 

31. At the vendor conference, it was stated that

community notification letters must be

31.

Confirmed.

 

delivered at least 30 days prior to the due

 

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors' Questions

 

date. Please confirm. General

 

32. At the vendor conference, it was stated that of
the 369 total SVP clients that 193 were in the
community. Please confirm that the 193 in the
community will be placed at the multi-tiercd
Civil Commitment Center and that the
remaining 176 individuals are currently in
correctional facilities If so, how many of the
remaining 176 SVP clients will be transferred
to the Civil Commitment Center upon
discharge from a correctional facility?
General

32.

Currently, there is a potential for placement of up
to 193 SVP clients at the Civil Commitment
Center, The remaining 176 SVP clients currently
in correctional facilities will be transferred to the
Civil Commitment Center upon release from a
correctional facility.

 

33. At the vendor conference, it was stated that 95
SVP clients are in Tier l. Please clarify
whether these 95 SVP clients are currently

living in the community. General

33.

These 95 SVP clients are currently living in the
community.

 

34. At the vendor conference, it was stated that
SVP clients and correctional populations may
be co-located but that total separation
between these populations must be
maintained Please conhrm. General

34.

Confirmed.

 

35. At the vendor conference, it was stated that
the community notifications could be hand
delivered or mailed via Fed Ex or UPS in
addition to obtaining a signature receipt upon
delivery to ensure the 30 day deadline is met.

Please confirm. General

35.

Section 3.14.2 has been revised and the revision
has been posted on the Electionic State Business
Daily.

 

36. At the vendor conference, it was stated that in
the event Bidders did not receive the response
forms after notifying elected officials, that
certified mail receipt would be sufficient

Please confirm. General

36.

Con§rmed.

 

 

37. At the bid conference, it was stated that
OVSOM Would not be responsible for
healthcare costs. However, it is anticipated
that many clients will be indigent and not
have healthcare benefits Given that most
community healthcare providers will not
provide care for non-emergent healthcare

conditions for indigent patients, will payment

 

for this healthcare be the responsibility of the

37.

OVSOM envisions that the contractor shall
provide routine cri-site primary care. Specialty,
major emergency care, and hospitalization shall
be provided in the community. OVSOM clients
are responsible for the cost of their health care
and medication costs.

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors’ Questions

 

vendor? General

 

38.

Since the change in current statute allows for
“total confinement” of SVP clients, please
clarify whether this requires potential vendors
to provide healthcare to SVP clients housed in
a secure setting in order to maintain a
constitutional level of care. if so, who is
responsible for the cost of these services?
General

38. OVSOM envisions that the contractor shall
provide routine orr-site primary care. Specialty,
major emergency care, and hospitalization shall
be provided in the community. GVSOM clients
are responsible for the cost of their health care
and medication costs

 

39,

According to the recent Pew and MacArthur
Foundation Repoit (July, 2014), health care
costs increase significantly for inmates above

the age of 50 years. According to the recent

Bienrn'al Report regarding the Office of
Violent Sex Offender Management, 59% of
OVSOM program participants are above the
age of 5 0. What are the per inmate health care
costs associated with the over 50 population?
Page 22 - Section 2.4.10

39. OVSOM does not pay for health care costs;
therefore, OVSOM has no health care cost
information to provide

 

40.

Appendix B - Revenue ldcnti§cation Porm
provides vendors With line items to report
telephone revenue and vending revenue
Please confirm that revenue is referring to

.profit. Page 77 ~ Appendix B

40. Confirmed.

 

41.

If available, please provide an excel
spreadsheet for Appendix F - Program
Budget and Staff Plan. Page 84 - Appendix F

4l. Provided with this response

 

 

Excel_Appendix F.xts

 

42.

Will the questions be published'?

42. Yes.

 

43.

May this population be co-located with a
correctional population? If so, what are the
requirements regarding separation of
populations?

43. Yes and no. They may be co-located in a facility
but they cannot come together, or commingle.
They Would need to be separated They cannot
come together and all services must be provided
separately

 

44.

What is the total current population that will
be assigned to the civil commitment center in
all tiers?

44. OVSOM’s expectation is that up to 193 clients
will be admitted to the civil commitment center
on 9/1/2015, with all tiered levels fully activated
within 60 - 90 days from 9/1/2015.

 

 

45.

What is the percentage of SVP’s likely to be

 

45. lt depends on the assessment conducted on each

 

 

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Civil Commitment Center for Violent Sex Offenders
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released to the community? Of those, how
does that relate to location of Civil
Commitment Center? lf the Civil
Commitment Center is in Ham's County, will
Harris County receive any or all of these
releases?

client Under the new law, clients that are
released horn a facility must be placed in their
last county of conviction They cannot be
released to the county where the facility is.

 

46. How much time Will be given to ramp up to
maximum population/capacity?

46.

OVSOM’s expectation is that up to 193 clients
will be admitted 9/1/2015, with all tiered levels
fully activated Within 60 - 90 days from
9/l/2015.

 

47. What percentage can be subcontracted?

47.

The percentage of the contract that can be
subcontracted is solely up to the Respondent.

 

48. Section 2.4.10(€) - What is meant by
“OVSOM shall not be responsible for health
care costs?”

48.

OVSOM envisions that the contractor shall
provide routine on-site primary care. Specialty,
major emergency care and hospitalization shall be
provided in the community. OVSOM clients are
responsible for the cost of their health care and
medication costs.

 

49. What if you notify the community but don't
have the land/property tied up and may move
to a new address within that same
jurisdiction? What if you have two or more
possible sites? Should you notify on all
possible sites even if they are in the same
jurisdiction?

49.

Notice should be specific to each location If you
have two or more possible sites and the sites fall
within the same jurisdiction, include all possible
sites in the same notihcation. Yes, notification
should be provided on all possible sites, even
when they are in the same jurisdiction

 

50. Does the 30 day notiiication requirement
come from the RFP or the statute?

50.

Both. They are meant to be in alignment with
each other. The deadline for proposals is July l7.
There is just enough time to then award a contract
on July 24, 2015.

 

51. ls it adequate if you postmarked your
notiiication on Tuesday?

Sl.

Section 3.14.2 has been revised and the revision
has been posted on the Electronic State Business
Daily.

 

 

52. How quickly and in what priority does
OVSOM anticipate the beds will be filled?
Will all 193 clients be admitted as of 9/1?
What is the expected timeframe for tiered
levels of privilege to be activated? Gencral
Paragraph l.5.2

 

52.

OVSOM’s expectation is that up to 193 clients
will be admitted 9/1/2015

OVSOM’s expectation is that tiered levels will be
fully activated Within 60 - 90 days from 9/1/2015

 

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors’ Questions

 

 

53. Will all clients be monitored via GPS and if
so, by the contractor? Will the contractor be
expected to provide urine/drug screens? Pg. 7
- General Paragraph l.6.l

53.

All OVSOM clients are subject to GPS
monitoring GPS monitoring services are not
requested under this solicitation

lt is OVSOM’s expectation that contractor shall
provide drug testing

 

54. Will the facility need to comply with the
Texas Jail Standards? lf not, are there DSHS
standards that will need to be met? Will it be
expected that this facility be licensed? Pg. lZ

- Section 2.3

54. The facility does not need to comply with the

Texas Jail Standards. There is no facility
licensure requirement at this time.

 

55. “The contractor shall not deviate...froni
applicable OVSOM policies.” Can OVSOM
provide a copy of these policies? Pg. 12 »
Section 23 Compliance with Applicable
Rules, Regulations, Policies, Procedures, and

Laws

55.

As a result of SB 746, all current OVSOM
policies are under review.

 

56. What is the budgeted amount for this
residential program? Are additional funds
available for programing? lf so, in what

amount? General

56. Please refer to HB l.

 

57. How long does OVSOM expect a client to be
a resident of the facility? What responsibility
might the contractor have to assist the client
with community living arrangements?
General

57.

The program is client driven, thus the length of
stay in any tier is based on the client’s overall
participation, progress, and compliance with
program requirements .

OVSOM case managers Will provide case
management services, which includes assisting
clients with possible _ community living
arrangements

 

 

58. Please provide any historical or anticipated
data on the number of transports required to
be provided by program staff on a monthly
basis by destinations types (court, medical,
employment etc.). Please provide information
on the expectations of the contractor in
providing transports? Are client transports
expected to be in a secure vehicle? With one

 

58.

OVSOM does not maintain client transport data
or have projections regarding transportation costs.

lt is GVSOM’s expectation that the contractor
shall provide client transportation

The contractor shall propose a client transport
plan, to include what (if any) security devices
shall be used during transportation in the

 

 

 

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Civil Commitment Center for Violent Sex Offenders
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or two staff members? General

community, keeping in mind that these clients are
not in custody and are not incarcerated OVSOM
shall approve contractor’s client transportation
plan. Any security devises proposed shall be in
accordance with transport guidelines or standards
for mental health populations

 

 

59. Please provide a copy of the Model
Workplace Guidelines developed by DSHS?

Pg. 22 - Section 2.4.10

59.

A link is provided in Section 2.4.10 to access
DSHS Model Workplace Guidelines

 

60. “OVSOM shall not be responsible for health
care costs.” Please provide as much detail as
possible of the current healthcare costs
provided to clients in the community. Please
provide information on the type and numbers
of medical issues experienced by this client
group What level of medical care is the
facility expected to provide? ls it expected
that a nurse be on duty at all times? That the
facility will operate an iniirmary? Pg. 23 -
Section 2.4.10 Health Services

60.

OVSOM envisions that the contractor shall
provide routine on-site primary care, Specialty,
major emergency care, and hospitalization shall
be provided in the community. OVSOM clients
are responsible for the cost of their health care
and medication costs.

 

 

 

61. Are Contractors expected to include costs 6t. GPS monitoring services are not requested under
associated With GPS monitoring drug testing, this solicitation
polygraphs, or other testing in their _
submissions? General lt is OVS_OM’s expectation that contractor shall
provide drug testing
Contractor may propose polygraph exams, or
other testing for OVSOM’s consideration
62. How does the Department plan to manage any 62, OVSOM Will provide clients With procedural
constitutional challenges by clients who may safeguards to protect their right to due process
have been placed in the community and are OVSOM is represented by the GErce of the
now required to live in a secure facility? Attorney General in all litigation
General
63. Please provide information regarding any 63. The OVSOM only has statistics for the past year.
violent episodes that have occurred by clients Over the past year, there were 3 minor incidents
in the program and the These were addressed through sanctions at the
outcomes/consequences of those actions. local level.
General

 

 

64. What is the percentage of clients considered
indigent by OVSOM? Pg. 27 - Section 2.4.l5
SVP Clothing and Necessities

 

.Approximately l25 SVP clients of the 193

currently in the community are deemed indigent

 

 

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Civil Commitment Center for Violent Sex foenders
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65. If a client requires inpatient hospitalization is
it expected that a facility staff person remain
with that client during the hospital stay?
General

65.

The contractor shall propose a client
transportation plan, to include what (if any)
security devices shall be used during
transportation in the community and
circumstances under which facility staff should
remain on location In developing the
transportation plan, the contractor shall consider
that OVSOM clients are not in custody. OVSOM
shall approve contractor’s client transportation
plan. Any security devices proposed shall be in
accordance With transport guidelines or standards
for mental health populations

 

 

 

66. Will the Department require Offerors to
include the following policies, procedures,
and manuals (which are to be “provided”) as
part of the proposal, or to be provided alter
contract award? Pgs. 13, 22, 25, 33 - Section
2.4 Speciiic Duties and Obligations, Section
2.4.1 - Training, Section 2.4.1.B, Section
2_4.lO.A.4, Section 2.4.12.B, Section 2.6. D.

 

66.

2.4. l .B. (l3) Contractor shall provide. .. a copy of
its training curriculum in its Operational Plan for
the OVSOM approval

' Provide with proposal

2.4.IO.A.4. (22) The Contractor shall provide the
OVSOM with copies of the above stated
policies/programs (AIDS and HIV medical
information_for employees and SVP Clients)

' Provide with proposal

2.4.12.B. (25) Contractor shall provide written
policies on how its staff will monitor the CCTV
Cameras and maintain the recordings of the
CCTV cameras.

' Provide with proposal

2.6. D. (33-34) The Contractor shall provide an
Operational Plan that covers the full range of
center operations

' Provide with proposal

 

 

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Civil Commitment Center for Violent Sex Offenders
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l. A policy and procedures operations
manual;

' Provide with proposal

2. An emergency procedures/security
manual for confidential use by the
staff supervisors that are employed by
the Contractor;

' Provide with proposal

3. A fully developed training package to
be administered to all the Contractor
staff as described in 2.4.1;

' Provide with proposal

4. 10b descriptions for each position,

education and experience
requirements, descriptions of job
duties, full-time or part-time

designation, etc.; and
" Provide with proposal

5. Program Budget and Stafting Plan
Appendix F.

l Provide with proposal

 

67. Please provide the number of OVSOM Case
Managers anticipated to be assigned to the
center and a current job description for this
position Pg. 18 - Section 2.4.4.- Center
Requirements Paragraph N

67.

The number of case managers shall be based on
the total number of beds proposed

Case manager job description is provided with
this response

PSII.pdf '

 

 

68. In the Adrnission Process of the solicitation, it
states that “SVP client shall be entered into
the Contractor’s automated system”. Does
the Department have specific expectations
regarding automated/electronic record
keeping, etc.? lf so, please provide Pg. 19 ~

Section 2.4.7 - Program Description

 

68.

At minimum, contractor’s automated system shall
maintain real time tracking and accountability of
all clients assigned to the facility An automated
system is typically used for submission of
monthly billing A windows based system
capable of running a full desktop version of MS
Office would be compatible with OVSOM’s
system.

 

 

 

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Civil Commitment Center for Violent Sex Offenders

Responses to Vendors' Questions

 

69. Please provide data regarding the number of
non'English speaking SVP Clients in the
current population for whom language
interpreter services will be needed Pg. 20 -
Section 2.4.7.-Program Description Paragraph
.B.Z.b

69. The OVSOM does not have this data.

 

 

70. Please provide available statistics on current
SVP population, including demographics,
diagnoses, risk assessment score data, PCL-R
scores, etc. Pg. 21 - Section 2.4.8 SVP

 

70. Client Participation in Programs

Average age of all SVPS: 52.52 Years

Average age of SVPs in Community:
53.32 Years

Average age of SVPs in Prison: 51.65
Years

Ethnicity of all SVPS: 24.93% African
American, 54.47% Caucasian, 20.33%
Hispanic, 0.27% Native
American/Alaskan Native

Ethnicity of SVPs in the Community".
22.40% African American, 53.13%
Caucasian, 23,96% Hispanic, 0.52%
Native American/Alaskan Native

Ethnicity of SVPs in Prison: 27.68%
Anican American, 55.93% Caucasian,
16.38% Hispanic

25% of the 193 clients currently living
in the community receive mental
health services Note, however, that
SB 746 requires the Health land
Human Services Commission to
coordinate with OVSOM to provide
psychiatric services, disability
services, and housing for a committed
person with an intellectual or
developmental disability, a mental
illness, or a physical disability that
prevents the person ii"om effectively

 

 

participating in the sex offender

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors' Questions

 

treatment program administered by
OVSGM.

c Approximately 125 SVP clients in the
community are deemed indigent

 

71. Please describe the current level of sex
offender treatment services that SVP clients
are currently receiving in the community (i.e.,
#hours per week, group vs. individual etc.).
Pg. 21 - 2.4.8 SVP Client Participation in

Programs

71,

OVSQM clients currently participate in 3 hours
of group counseling per week and 2 individual
sessions per month.

 

72. Does the Department expect the OVSOM
Case Manager(s) to be located on-site‘? Pg.
21 - Section 2.4.8 SVP Client Participation in

Programs Paragraph D

72.

Yes. lt is OVSOM’s expectation that the
contractor shall provide separately keyed offices
for the case managers

 

73. Paragraph C. states that, “All records shall be
locked in a tile cabinet accessible only to the
Contractor‘s staff and/or the OVSOM
representatives.” Will a locked room with
restricted access fulfill this requirment? Pg,

21 - Section 2.4.9 SVP Client Records

73.

No. Section 2.4.9(C) SVP Client Records has
been revised to read, “All records shall be locked
in a tile cabinet located in an area accessible only
to the Contractor’s staff and/or the GVSOM
representatives,”

 

74. Use of Force - Please list all applicable
legislation, administrative rules, or codes
governing use of force that apply to the SVP
Client population (e.g.,. restraint and
seclusion, secure transport, etc.). Pg. 28 -
Section 2.4.28 SVP Civil Rights Paragraph C
Use of Force

74. There are no -TAC regulations or codes

concerning the use of force for a civilly
committed sex offender

The contractor shall propose a Use of Force plan,
to include what (if any) restraint devices shall be
used and the circumstances under which facility
staff may use said restraints ln developing the
Use of Force plan, the contractor shall consider
that OVSOM clients are not in custody OVSOM
shall approve contractor’s U_se of Force plan. Use
of any security devices shall be the minimum
needed to gain compliance and shall be limited in
use to a means of last resort.

 

 

75. The RFP states that “ln addition, submit one
electronic copy of the proposal on a portable
media device, preferably flash drive, and
compatible with Mi'crosoft Office ZOlf). PDF
format is not allowed, except for signature
pages.” Many of the documents requested by

the OVSOM, (i.e., Annual Pinancial

 

75 . Yes we will accept PDF.

 

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors' Questions

 

Statements, Certificate of Existence from the
Texas Secretary of` State and the Certificate of
Good Standing from the Texas Comptroller of
Public Accounts (see Business Proposal,
Subsection l, Paragraphs D-E), are in a PDF
format only. Converting these files into a
compatible Microsof’t Office format might
compromise the integrity of these documents
Would the Department consider relaxing this
requirement? Pg. 49-50 - Section 3 General
lnstructions and Proposal Requirement
Subsection 3.13.1 Number of Copies

 

76.

In this schedule are we to provide Daily Per
Diem for the base Period? Commencement to
8/31/19 and likewise for the 2 year Option
Period One and Two? ls the rate sought a
blended rate {i.e. a single rate covering all
five years in the Base Period and/or two
Option Periods) or separate rates for each
year? Pg. 70 - Section 6.3 Pricing Schedule

76. Three rates are required One rate for the base
period, commencement date through 8/31/2019.
A second rate for Gption Period One (9/1/2019 *
8/31/2021). A third rate for Option Period Two
(9/1/202] - 8/31/2023).

 

 

77.

Are detailed Staffing Salaries and Benefits
requested for each individual position? For
example, if the staffing included three
registered nurse Full Time Equivalents
(FTEs) covered by two FTE and two PT
positions, is a line being requested for each of
the four individual employees, for each FTE
separately or for all FTEs grouped together?
ls this information for each of the base years
and option years? Pg. 84 Appendix F-
Program Budget And Staff Plan

77. Complete all forms and provide all information as
requested by each form for each contract period
(base period, Option Period One and Option
Period Two). An Excel spreadsheet is included
with this response '

 

 

Exce|_Appendtx F.xls

 

78.

Each location must complete Exhibit J.l.
Please provide this exhibit since we cannot
seem to locate one in this RFP. Pg. 86 -
Appendix F lnstructions

78i RFP. Pg. 86 - Appendix F lnstructions is revised
to read: “...each location must complete an

M-”

 

 

79.

Detailed corporate administrative cost
information is requested including, possibly,
information regarding salaries and benefits for
individual employees As a private company,
the proposer does not disclose this
information Would an aggregate presentation
of this information suffice? lf a proposer does
not routinely allocate non-personnel overhead

 

79. Appendix F shall be completed in its entirety and
in accordance with instructions provided

 

 

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Civil Commitment Center for Violent Sex Offenders
Responses to Vendors‘ Questions

 

expenses (e.g. rent, utilities) to corporate
administration functions in the ordinary
course of its business, is an allocation of such
costs proportional to personnel costs or
headcount sufficient? Pg. 86 - Appendix F.
Instructions for lndirect Costs

 

 

80. Will vendor be held harmless from suits filed
by SVPs in the community who protest their
loss of freedom? General

80. OVSOM shall not indemnify a contractor.

However, OVSOM Will be working to provide
clients with procedural safeguards to protect their
right to due process before they are placed under
the rules of any inpatient status

 

81, I‘m a translator English/Spanish and I would
like to know if l can apply or place a bid for
my services.

. OVSOM does not currently have a published

Request for Proposals for Spanish / English
Interpreter services

 

82. How many SVP clients are currently civilly
committed?

. The total number of civil commitment clients is

369. Out of this 369, 193 currently live in the
community.

 

83. What is the projected number of new SVP

commitments for each of the next live years?

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iad

. in fiscal year 2014, l53 offenders Were referred

to the Special Prosecutions Unit for possible civil
commitment; of those 43 were committed to the
civil commitment program Please note; however,
that the Special Prosecutions Unit only had a
budget to conduct 50 civil commitment trials per
year. The new civil commitment law, SB 746,
upon becoming effective, does not limit the
number of civil commitment trials and requires
that offenders be returned to their last county of
conviction for a decision whether to move
forward with a civil commitment trial As a g
result of this change in the civil commitment law,
projections for the next five years cannot be
provided.

 

 

84. Please clarify the number of` program tiers
envisioned by OVSOM, the definition of each
tier, and the projected population of each tier
based on the current SVP population

 

84. The contractor shall propose a tiered program, to

include the number of tiers and the definition of
each ti'er. Curr'entl'y, the G‘v’SOlvl has 95 clients
in level one, which would be considered the most

restrictive level or tier l.

 

 

 

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Civil Commitment Center for Violent Sex offenders
Responses to Vendors' Questions

 

85 . Please clarify whether the treatment provider
cr OVSGM designates movement between
program tiers.

85.

A treatment team, Which includes one employee
from contractor star"f, Will make a
recommendation to OVSOM management
OVSOM management will make the final
determination

 

86. Please confirm that OVSOM envisions the
Civil Commitment Center as a secure
treatment center with a therapeutic mission
rather than a detention center that merely
provides confinement

86.

Coniinned. The OVSOM requires a secure civil
commitment center with a therapeutic mission.

 

87. The RFP and proposed legislation refer to
tiers. Do the tiers apply Within total
confinement or solely to the transition to a
less restrictive alternative?

87.

T he tiers apply to the entire program, including
within total confinement To clarify iiirther, the
OVSOM envisions a secure facility with tiers
built into the housing and treatment snuct'"e or

design.

 

 

88. Request for an extension on the time to
deliver the notices required in 3 . 14.2.

 

88.

We will not provide an extension on the time to
deliver the notices required in 3.l4.2.

 

Vendor Conference Sign-In Sheets

Veno'or Conference
Sign-In Sheets.PDF

 

 

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Texas Civil Commitment Office
Resident

Mcnthly income & Expense Worksheet

 

 

 

 

   
   
 
 
    
  

 

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me includes but ls not limited to employment, SS¥, interest on bank account,
ed as a gift, proceeds from the sale of property, etc.

  
   

 

 
 

 

 

 

 

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Tota¥ monthly expenses:

 

$
Total after expenses to be placed in savings: $

 

 

Pursuant Hea h & Safety Code §841.084, res§:ients are responsible for payment for services for
GPS, treatme t & housing and will be calculated at 33.3% of the total monthly adjusted income

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THE TEXAS PHOTO lDENT|FlCAT|ON LAW
A. The Challenged Provisions of SB 14

Effective January 1, 2012, Texas registered voters are required to present a specified type of photo lD
when voting at the polls in person SB 14, § 26 (effective date). The law has a number of provisions
placed in issue in this case, described generally as follows.

The only acceptable forms of photo lD are: (1) a driver's license, personal lD card, and license to carry
a concealed handgun, all issued by the Department of Public Safety (DPS); (2) a United States
military lD card containing a photo; (3) a United States citizenship certificate containing a photo; and
(4) a United States passport /d., § 14. All of these forms of photo lD must be current or, if expired,
they must not have expired earlier than sixty days before the date of presentation at the polls. Id.

lf a voter does not have such photo lD, that voter may obtain an election identification certificate (ElC),
which is issued by DPS upon presentation of proof of identity. /d., § 20, Persons with a verifiable
disability may obtain an exemption from the photo lD requirement but must provide required
documentation of the disability to the voter registrar Id., § t. The sources of that documentation are
limited to the United States Social Security Administration and United States Department of Veterans
Affairs_ Id.

When the voter appears at the polling place, the law requires that the voter‘s registered name and
name on the photo lD be exactly the same or "substantially similar." Id., § 9(c). lf they are exactly the
same, the voter may cast a ballot without further complication if they are not exactly alike, but are
deemed by the poll workers to be "substantially similar" under the SOS's guidelines, the voter is
permitted to vote, but must first sign an affidavit that the actual voter and the registered voter are one
and the same. /d.

lt the registered name and the name on the photo lD are not deemed by the poll workers to be
"substantially similar," or if the voter does not have any of the necessary photo lD, the voter may cast
a provisional ballot, which will be counted only if the voter, within six days of the election! goes to the
voter registrar with additional documentation to verify his or her identity Id., §§ 15, 17, 18. Those who
have a religious objection to being photographed or who lost their photo lD in a natural disaster may
also cast a provisional ballot subject to later proof of identity Within six days of any election in which
that person votes. ld., § 17.

The law requires each county voter registrar to provide notice of the photo lD law when issuing original
or renewal registration certificates Id., § 3. The registrar must post a notice in a prominent location at
the county clerk's office and include notice in any website maintained by that registrar. ld., § 5. The
SOS is required to include the notice of this law on the SOS website and must conduct a statewide
effort to educate voters regarding the new requirements Id., § 5. The SOS must also issue training
standards for poll workers regarding accepting and handling the photo le. Id., § 6. The county clerks
are directed to provide training pursuant to the SOS's standards for their respective poll workers ld_, §
7.

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§ 82.004. Confinement in Jail.

(a) A qualified voter is eligible for early voting by mail if, at the time the voter's early voting
ballot application is submitted, the voter is confined in jail:

(l) serving a misdemeanor sentence for a term that ends on or after election day;
(2) pending trial after denial of bail;
(3) Without bail pending an appeal of a felony eonviction; or

(4) pending trial or appeal on a bailable offense for Which release on bail before election day
is unlikely.

(b) A voter confined in jail Who is eligible for early voting is not entitled to vote by personal
appeaiance unless the authority in charge of the jail, in the authority's discretion, permits the
voter to do so.

(Enacted by Acts 1985, 69th Leg., ch. 211 (S.B. 616), § l, effective January l, 1986; am. Acts
1987, 70th Leg., ch. 472 (H.B. 612), § 19, effective September l, 1987; am. Acts 1991, 72nd
Leg., ch. 203 (S.B. 1234), § 1.02, effective September l, 1991; am. Acts l99l, 72nd Leg., ch.
554 (S.B. 1186), § l, effective September l, l99l; am. Acts 1997, 75th Leg., ch. 864 (H.B.
1603), § 70, effective September l, l997.)

STATUTORY NOTES

REV|SORS‘ NOTE.

No substantive change.

Editor‘s note.- A former § 82.004, Re|igion, was deleted by Acts 1991, 72nd Leg., ch. 203 (S.B.

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